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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            OCALA DIVISION


  KEVIN CAULEY,

        Plaintiff,

  v.                                             Case No. 5:16-cv-543-Oc-32PRL

  QUEST DIAGNOSTICS, INC., a
  foreign Corporation,

        Defendant.


                                    ORDER

        The Court has been advised that this case has been settled (Doc. 18).

  Accordingly, it is now

        ORDERED:

        1.    The parties shall have until September 29, 2017 to file a joint

  motion for dismissal or other appropriate documents to close out this file.

        2.    If the parties have not filed settlement pleadings or a request for

  extension of time by the September 29, 2017 deadline, this case will

  automatically be deemed to be dismissed without prejudice. The parties are

  cautioned that in some cases, the Court may not have jurisdiction to

  enforce settlement agreements once the case has been dismissed

  without prejudice; thus, if the parties have not finalized their
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  settlement by the deadline, they are encouraged to move for an

  extension of that deadline. The Clerk should close the file now, subject to

  reopening if the parties file papers by the deadline.

          3.   All pending motions and deadlines are terminated.

          DONE AND ORDERED in Jacksonville, Florida the 31st day of July,

  2017.




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  Copies:

  Counsel of record




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